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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 4:01CR3061
                                    )
          v.                        )
                                    )
RICARDO TORRES,                     )                    ORDER
                                    )
                  Defendant.        )
                                    )


     On March 19, 2009, defendant entered a plea of guilty to the
charges and his sentencing date has been set.


     IT THEREFORE HEREBY IS ORDERED,

     Defendant’s motion to suppress evidence filed February 18,
2009, filing no. 57, is deemed withdrawn.

     DATED this 30th day of March, 2009.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
